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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE THIRD CIRCUIT


                                   23-2193
                            STEVEN CHECCHIA,
                                        v.
                             SOLO FUNDS, INC.


            APPELLANT’S REQUEST FOR ORAL ARGUMENT


 On Appeal from an Order and Memorandum Opinion Dated June 7, 2023
       Denying, SoLo Fund, Inc.’s Motion to Compel Arbitration
               in the United States District Court for the
                    Eastern District of Pennsylvania,
                           No. 2:23-cv-00444


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      Pursuant to Federal Rule of Appellate Procedure 34(a)(1) and Local Rule

34.1, Appellant SoLo Funds, Inc. respectfully requests oral argument. This case

presents a res nova issue in this Circuit concerning the enforceability of arbitration

agreements in contracts entered into via smartphones. Online agreements entered

into on smartphones are increasingly commonplace and, as here, often do not fit

neatly into the clickwrap/browsewrap binary that is commonly employed. The

criteria by which these contracts should be evaluated, their proper classification, and

the burden of proof is of nationwide interest, not only in the area of arbitration

agreements but also in smartphone based relationships in general.

      It is submitted that oral argument will be of aid to the court in this evolving

area of the law.

      Appellant respectfully requests 15 minutes per side for oral argument.


                                  Respectfully submitted,
 Dated: January 12, 2024
                                   /s/ Joseph A. Apatov
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                      CERTIFICATE OF COMPLIANCE
      The undersigned hereby certifies that he is admitted to practice in the United

States Court of Appeals for the Third Circuit, that the filing has been prepared in a

proportionally spaced typeface using Microsoft Word 2016 in size 14 Times New

Roman Font, and that this document contains 134 words.

                                       /s/ Joseph A. Apatov
                                       Joseph A. Apatov
Dated: January 12, 2024




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                          CERTIFICATE OF SERVICE
      I certify that today I am serving the foregoing on counsel of record by the

Court’s electronic filing system.

                                      /s/ Joseph A. Apatov
                                      Joseph A. Apatov

Dated: January 12, 2024




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